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UN|TED STATES OF AMER|CA CLE$§§%§ :¥§SE§LHS
Plaintiff

VS.
CR. NO. 04-20480-D

DERR|CK CRU|V|PTON

Defendant.

 

ORDER ON CONT|NUANCE AND SPECIFY|NG PER|OD OF EXCL{JDABLE DELAY
AND SETT|NG

 

This cause came on for a report date on Ju|y 21 , 2005. At that time, counsel for the
defendant requested a continuance of the August 1, 2005 trial date in order to allow for
additional preparation in the case.

The Court granted the request and reset the trial date to September 6, 2005 with
a report date of Thursday, August 25l 2005l at 9:00 a.m., in Courtroom 3, 9th F|oor of
the Federa| Bui|ding, lV|emphis, TN.

The period from August 12, 2005 through September16, 2005 is excludable under
18 U.S.C. § 3161 (h)(8)(B)(iv) because the ends ofjustice served in allowing for additional
time to prepare outweigh the need for a speedy tria|.

|T |S SO ORDERED this BZJ’ day Of Ju|y, 2005.

§RN|CE B. DONALD

UN|TED STATES D|STRICT JUDGE

This document entered on the dockets s co li "';
with Huie 55 and/or 32(b) FRCrP on 33

 

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This notice confirms a copy cf the document docketed as number 28 in
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Honcrable Bernice Donald
US DISTRICT COURT

